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PROPOS ED ATTORNEYS FOR KRIS U HOSPITALITY, LLC
DEBTOR AND DEBTOR IN POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
IN RE: $
8 Case No. 19-20347
KRISU HOSPITALITY, LLC , § (Chapter 11)
§
Debtor. 3 EXPEDITED HEARING REQUESTED
§

 

MOTION TO PAY PRE-PETITION WAGES

 

TO THE HONORABLE ROBERT L. JONES, U.S. BANKRUPTCY JUDGE:

Krisu Hospitality, LLC debtor and debtor in possession (“‘Krisu” or the “Debtor”) file this
Motion to Pay Pre-Petition Wages (the “Moton to Pay Wages”) and in support
thereof would show the Court the folowmg.

INTRODUCTION
lL, This motion seeks authorization to make the payroll that ts due to the fourteen (14)
employees of the Debtor on November 12, 2019, and to authorize Centennial Bank to honor the
pre-petition checks prepared for such payroll.
JURISDICTION AND VENUE
2, The Court has jurisdiction over this action pursuant to, and without limitation §§ 105,
363, 507, and 1101 et seq. of the United States Bankruptcy Code, 11 U.S.C, § 101 et seq. (the

“Code”,

 

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3. Venue action is proper m this Court pursuant to 28 U.S.C. § 1409,
4, The Court may try this action to a conclusion and enter final orders under Stern v.
Marshall, 131 8. Ct. 2594 (U.S. 2011).
FACTUAL BACKGROUND

The identify and background of the Debtors and Debtors in Possession.

5. Krisu constructed, and owns and operates the LaQumta Inn & Suites Hotel m Pampa,
Texas,
The Commencement of the Bankruptcy Case.

6. On November 4, 2019, Krisu commenced the above-captioned Chapter 11 case by
filing a voluntary petition.
Factual background in support of the relief requested.

7. As of the Petition Date, the Debtor's work force consisted of approximately fourteen
(14) fulltime and part-time employees.

8. Under the Debtor's standard payroll procedure, the next date to disburse payroll is
November 12, 2019.

9. The Debtor currently owes its employecs wages for the pay period and one week
ending November 7, 2019.

10. The employees are expecting their paychecks on November 12, 2019, which date
would be their normal payday. |

11. The Debtor estimates that its pre-petition gross wage obligation is m the aggregate
amount of $5,608.94. A chart indicatmg the wages and other compensation to be paid on November
12, 2019 is attached hereto as Exhibit 001 and is incorporated by reference herem (the “Pre Petition

Wages’’).

 

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12, The Debtor intends to issue checks and/or issue direct deposits through its existng
pre-petition account(s) with Centennial Bank.

RELIEF REQUESTED

13. Pursuant to Code §§ 363(b) and 105(a), and the “necessity of payment” doctrine, the
Debtor seeks entry of an order authorizing, but not directing, the Debtor to pay the Pre-Petition Wages
on November 12, 2019, in accordance with the Debtor's normal payroll procedures, in addition to
payroll taxes and certain extremely limited benefit and expense items as set forth m Exhibit 001 and
directing Centennial to honor and pay all payroll checks.

14. A proposed form of final order accompanies this Motion to Pay Wages and is
incorporated by reference herein.

BASIS OF RELIEF

15. As a4 result of the commencement of the Debtor's Chapter 11 case, and in the absence
of an order of the Court providing otherwise, the Debtor will be prohibited from paying or otherwise
sausfying its pre- petition obligations regardmg the Pre-Petition Wages.

16, Pursuant to Code § 507(a)(4), the Debtor's employees’ claims for “wages, salaries, or
commissions, including vacation, severance, and sick leave pay” earned within 180 days before the
Petition Date are afforded unsecured priority status to the extent of at least $13,630 per employee (or
the current, adjusted amount if greater than $13,650) (the “Cap Amount’).

17, Furthermore, Code § 363(b)(1} provides: “[t]he trustee, affer notice and a hearing, may
use, sell, or lease, other than in the ordinary course of business, property of the estate.”

18, Under Code § 105, the Court also may issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of the Code.

 

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19. Because the Pre-Petition Wages constitute priority claims which must be paid m full
pursuant to Code § 1129(a)(9) m order to confirm a plan of reorganization, payment of such obligations
at this time merely affects the timing of such payments.

20. The Debtor does not have any employees who are owed more than the Cap Amount,

21. The Debtor's employees are essential to the success of the Debtor's business. The
Debtor's business is entirely dependent on its employees and their Jabor n mamtaming operations. Any
interruption in the delivery of the Debtor's payroll to its employees will severely impact the Debtor's
ability to operate and ultimately impact the Debtor's reorganization,

RESERVATION OF RIGHTS

22, Krisu reserves the right to amend and/or supplement this Motion to Pay Wages prior to
any hearing, inchiding particularly with respect to Exhibit 001.
NOTICE
23. Krisu through the undersigned counsel has provided notice of this Motion to Pay Wages
and the related request for an expedited hearing to the parties entitled to notice under L.B.R. 9007-1(b)
and by electronic means where available,
24. As indicated below, a Certificate of Service separate from this Motion to Pay Wages
will be filed.
CONCLUSION AND PRAYER
WHEREFORE, Krisu Hospitality, LLC, the debtor and debtor-in-possession, respectfully
requests that the Court enter an order granting the Motion to Pay Wages and the relief
requested herein including authorizing the Debtor to pay the Pre-Petition Wages in

addition to payroll taxes and certain extremely limited benefit and expense items, and to

 

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order Centennial to honor all payroll checks, grant such other and further relief to which

the Debtor is entitled at law or in equity.

 

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Dated: November 6, 2019

Respectfully submitted:
SWINDELL LAW FIRM

By:  4/ Patrick A. Swindell

Patrick A. Swindell

State Bar No, 19587450

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PROPOSED ATTORNEYS FOR KRISU
HOSPITALITY, LLC , DEBTOR AND DEBTOR IN
POSSESSION

CERTIFICATE OF SERVICE

A separate Certificate of Service will be filed.

és/_ Patrick A. Swindell
Patrick A. Swindell

 

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EXHIBIT 001

Payroll Information

Assumes Nov. 4 2019 petition date
Numbers are GROSS prior to withholdings

Connie Viescas 214.29 1,000.00
Kelli Beck 0.00 0.00
Beverly Culver 0.00 210.72
Adela Elizondo-Munos 0.00 491.25
Marisol Fuentes 0.00 548.85
Elizabeth Garcia 0.00 312.98
Alisha Hanna 0.00 525.07
Robert Johnson 0.00 500.90
San Juana Machado 0.00 191.32
Maribel Mejia 0.00 397.20
Perla Morales 0.00 454.30
Rozal Ojeda 0.00 132.00
Blanca Silva 340.00
Erika Tello 504.35

0.00

0.00

 

5,394.65 5,608.94
